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 3      ALAN LESCHT AND ASSOCIATES, P.C.                       Exhibit 12 Letter submitted 6-21-19        61
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 4      SARA McDONOUGH, ESQ.                               5   Exhibit 13 Letter submitted 7-3-19      62
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 7      202-463-6036                                                  Office of Henry Cuellar
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 8      sara.mcdonough@leschtlaw.com                       9   Exhibit 15 Confidentiality Agreement 108
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 2    Exhibit 38 E-Mail dated 9-4-18       175                     1           PROCEEDINGS
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 4    Exhibit 39 E-Mail Chain dated 9-10-18 175                    3              KRISTIE SMALL,
             HC000373-375
 5                                                                 4   was called for examination by counsel and,
      Exhibit 40 E-Mail dated 8-3-18       225
 6           HC002408-2420                                         5   after having been duly sworn by the Notary, was
 7    Exhibit 41 E-Mail Chain dated 8-8-18   225                   6   examined and testified as follows:
             HC002439-2446
 8                                                                 7
      Exhibit 42 E-Mail Chain dated 9-5-18  225
 9           HC002470-2478                                         8         MR. BLAKE: All right. Good
10    Exhibit 43 E-Mail dated 10-12-18     225
             HC000679
                                                                   9   morning.
11                                                                10         This is the deposition of Plaintiff
      Exhibit 44 E-Mail dated 8-31-18         225
12           Attachment                                           11   Kristie Small in the above-captioned case. I
             HC002465-2469
13                                                                12   am Trevor Blake for the defendant, the office
      Exhibit 45 E-Mail Chain dated 9-7-18     225                13   of Congressman Henry Cuellar. I'm here with
14           Attachment
             HC000347-348                                         14   Mark Hayes, and Mrs. Small is here and
15
      Exhibit 46 E-Mail Chain dated 10-11-18 225                  15   accompanied by her attorney, Sara McDonough.
16           HC000405
17    Exhibit 47 E-Mail Chain dated 7-3-18   225                  16         And are we ready to go?
             HC000180-182                                         17         First of all, Counsel, I just want
18
      Exhibit 48 E-Mail Chain dated 10-15-18       239            18   to confirm that this is being taken pursuant to
19           Attachment
             HC001158-1173                                        19   the Federal Rules Of Civil Procedure, and that
20
      Exhibit 49 E-Mail dated 10-25-18        250
                                                                  20   as a result all objections except as to form
21           HC001156-1157                                        21   and privilege are preserved.
22    Exhibit 50 E-Mail dated 7-19-18         252
             HC002311-2318                                        22         Is that your understanding?
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 1     bit -- the application process initially for               1   2005. And so how did that translate into
 2     the job at the Committee on House                          2   working for the Committee on House
 3     Administration?                                            3   Administration in 2007?
 4       A.       The job application process was                 4     A.    I was a staff assistant and
 5     nonexistent for that position. I was formerly              5   scheduler, and I was there for, approximately,
 6     in Congressman Brady's personal office. I                  6   a year in that position and then moved up to
 7     began that position -- I began that position               7   legislative, and a legislative assistant. And
 8     directly out of college. I graduated in                    8   then, at that time, Mr. Brady became chairman
 9     December of 2004, and I started the position in            9   of House Administration Committee, and so as he
10     February of 2005. I had been looking at job               10   was filling his staff they offered me to go to
11     boards and getting recommendations of places              11   the committee because of my great work record.
12     that might have openings on the Hill because I            12     Q.    And can you, just for the record,
13     interned for Senator Rockefeller during                   13   tell me what the Committee on House
14     college. So I literally came up here and                  14   Administration is, what it does?
15     stayed with friends and I knocked on doors and            15     A.    Yes.
16     handed out resumes, and when I went into Mr.              16          The Committee on House
17     Brady's office, it was during a recess, and               17   Administration has jurisdiction over multiple
18     nobody was at the front desk. So I said,                  18   facets of the House Of Representatives. They
19     "hello," and I heard a man behind the wall say,           19   do everything from supervising federal
20     "hello." And I said, "May I drop off a resume,            20   elections. So when an election has a recount,
21     please?"                                                  21   it is our team of -- was our team of lawyers
22               And so I went back, it happened to              22   that would go to facilitate and make sure the
                                                       Page 19                                                         Page 21
 1    be with the chief of staff, and he interviewed              1   rules were being followed for the recounts.
 2    me on the spot and called me the next day or                2          We did new member orientation every
 3    the day after, one or two days, and offered me              3   two years for every new member of Congress that
 4    the job.                                                    4   would come in. That was a huge job. It took
 5      Q.    And that was in 2000-?                              5   planning starting two years ahead of time. As
 6      A.    '5.                                                 6   soon as one was over another one would start to
 7      Q.    Okay. And then you started working                  7   be planned for.
 8    -- well -- and I should back up. Again, just                8          My direct responsibilities were
 9    to make sure we're on the same page, when I say             9   always helping with new member orientation. My
10    "office," I'm going to be referring to the                 10   areas of oversight were the house restaurants.
11    defendant office of Congressman Henry Cuellar.             11   So all the cafeterias, all the vending, all of
12           Do you understand that?                             12   the contracts, all of the people that we were
13      A.    Yes.                                               13   procuring to hire to come in was -- oversaw all
14      Q.    When I say "congressman" or                        14   of that, and also day-to-day operations and
15    "member," just congressman or member as opposed            15   day-to-day complaints. So that was one of my
16    to congressman so and so member such and such,             16   main responsibilities.
17    I'm going to be referring to Congressman Henry             17          My second responsibility was to have
18    Cuellar.                                                   18   oversight of the Capitol Visitor Center. So I
19           Do you understand that?                             19   had weekly meetings with the CEO of the Capitol
20      A.    Yes.                                               20   Visitor Center, Beth Plemmons, including the
21      Q.    Okay. And so you started working                   21   senate rules staff and the -- including the
22    for the personal office of Congressman Brady in            22   senate rules staff because we had jurisdiction
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 1       Q.   Would you say that it was important            1     A.      Yes.
 2     for a member office to have a good relationship       2     Q.      Have you ever -- and I'm looking
 3     with the Committee on House Administration?           3   before you started working for Congressman
 4       A.   Yes.                                           4   Cuellar' office, for any job on the Hill did
 5       Q.   And can you give a couple reasons              5   you ever have a probationary period?
 6     why?                                                  6     A.      No.
 7       A.   We were always known as the members'           7     Q.      Okay. Were you aware that some
 8     committee, so they were told that, and that           8   offices on the Hill have probationary periods?
 9     they should come to us if they had any problems       9     A.      Yes.
10     with anything we had jurisdiction over.              10     Q.      And how are you aware?
11       Q.   So if you were working in a member's          11     A.      Through word of mouth.
12     office, you would want to have a good                12     Q.      So going off the Hill, have you ever
13     relationship with the Committee on House             13   had a probationary period for any job?
14     Administration?                                      14     A.      No.
15       A.   Yes.                                          15     Q.      Ever? Both before -- before you
16       Q.   During your time at the Committee on          16   started working on the Hill and since?
17     House Administration, was there any                  17     A.      There was nowhere before the Hill.
18     disciplinary action taken against you?               18   That was my first job, so no.
19       A.   Never.                                        19     Q.      What prompted you to leave the
20       Q.   Any performance deficiencies                  20   Committee on House Administration?
21     identified to you?                                   21     A.      Bob Brady was retiring, and I was
22       A.   Never.                                        22   looking for opportunities to expand, you know,
                                                  Page 27                                                       Page 29
 1        Q. No performance improvement plan?                1   my profile and my knowledge and take a next
 2        A. Never.                                          2   step.
 3        Q. No promotions, though, right?                   3     Q.      Okay. And do you know why did
 4        A. There was not availability for                  4   Representative Brady retire?
 5     promotions.                                           5     A.      You would have to ask him that.
 6        Q. Okay. So, just to be clear for the              6     Q.      Do you know if his retirement was
 7     record, no promotions, though?                        7   voluntary?
 8        A. No.                                             8     A.      Yeah.
 9        Q. All right. Performance-based raises             9            I mean, as far as I -- anything I
10     or COLAs?                                            10   would know it was at his own will. He was
11        A. No COLAs.                                      11   ready.
12            Yes, I think three raises in the              12     Q.      Could you have stayed at the
13     time I was there.                                    13   Committee on House Administration after
14        Q. That were performance-based?                   14   Representative Brady retired?
15        A. Yes.                                           15     A.      Yes.
16        Q. And did you-all get bonuses on the             16     Q.      So you voluntarily left the
17     committee?                                           17   Committee on House Administration?
18        A. Yes.                                           18     A.      Yes.
19        Q. Were those performance-based?                  19     Q.      And are there some people who stayed
20        A. No.                                            20   on at the Committee on House Administration
21        Q. So, like, everyone got $2,000 a year           21   after Congressman Brady retired?
22     or something like that?                              22     A.      Yes.
                                                                                                                          EX 1
                                                                                                  8 (Pages 26 - 29)
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 1      A.    No.                                                 1   it was just two. On the -- no, it was two.
 2      Q.    Before Congressman Cuellar's office                 2   There was one in the members' dining room and
 3    on the Hill, did you have the ability to fire               3   one where -- the second one where he hired me
 4    or effectively recommend firing people?                     4   was at a restaurant with Nina Andrews present,
 5      A.    No.                                                 5   and he offered me less money. He offered me
 6      Q.    Before Congressman Cuellar's office,                6   what -- less money than I ended up making, and
 7    did you have the authority to promote or                    7   he also offered me -- he -- he was thinking for
 8    effectively recommend promotions of people?                 8   me to be legislative director, and I said to
 9      A.    No.                                                 9   him I think I would be better in a chief of
10      Q.    Before Congressman Cuellar's office,               10   staff type position, is there anyone in your
11    while working on the Hill, did you have the                11   office that you would trust to be your
12    authority to discipline or effectively                     12   legislative director? And, at that point, he
13    recommend disciplining people who worked on the            13   and Nina discussed Juan Sanchez, and that's
14    Hill?                                                      14   what ended up happening.
15      A.    No.                                                15          So he took my recommendation to have
16      Q.    Before Congressman Cuellar's office,               16   Juan become a legislative director, and hired
17    did you have the ability to evaluate                       17   me as the deputy chief of staff, offering me
18    performance in a formal way for anyone working             18   $80,000. And I said that I would need to make
19    on the Hill?                                               19   more, and so he ended up -- I ended up with
20      A.    No.                                                20   making $90,000.
21      Q.    Okay. Before working for                           21     Q.      Okay. You said a lot. So I just
22    Congressman Cuellar's office, did you have the             22   want to make sure I understand everything.
                                                       Page 35                                                       Page 37
 1     ability to approve leave for anyone working on             1          So you said that initially you were
 2     the Hill?                                                  2   in touch with Nina Andrews from Congressman
 3       A.    No.                                                3   Cuellar's office; is that right?
 4       Q.    And before working in Congressman                  4     A.      Uh-huh.
 5     Cuellar's office, did you have the ability to              5     Q.      Okay. So what was your relationship
 6     determine or effectively recommend compensation 6              with Nina Andrews before you spoke about
 7     such as salaries and bonus amounts?                        7   possibly joining Congressman Cuellar's office?
 8       A.    No.                                                8     A.      Nina and I had been good friends for
 9       Q.    Can you describe to ne the                         9   approximately 10 years. We were Washington
10     application process with Congressman Cuellar's            10   Wizard dancers together in 2008, and so that's
11     office? So how that job offer came about?                 11   when our relationship began. That's when we
12       A.    As I was beginning the process of                 12   met.
13     finding a new position, I was reaching out to             13     Q.      Did you have any professional
14     colleagues to see where openings may be. And a 14              interaction with Nina on the Hill before you
15     colleague, Nina Andrews, notified me that her             15   started working in Congressman Cuellar's
16     chief of staff had just left and her deputy               16   office?
17     chief had just quit, and that the office was a            17     A.      As far as job duties, no.
18     mess, and he was probably looking to hire                 18     Q.      So as a staffer on the Committee on
19     someone.                                                  19   House Administration, which you were, and you
20            And I said, oh, well, I'm looking.                 20   know as a staffer for Congressman Cuellar's
21     So I believe she gave him my resume, and then I 21             office, did you have any interaction between
22     had two or three interviews, and on my -- maybe 22             the committee and the members' office?
                                                                                                                               EX 1
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 1       A.      No.                                             1     A.     Yes.
 2       Q.      So was anyone present at your                   2     Q.     And then you stayed a little bit
 3     interview with the congressman, the first one             3   longer and talked about the job; is that right?
 4     that was in the members' dining room?                     4     A.     I believe so.
 5       A.      No.                                             5     Q.     So there was some conversation with
 6       Q.      Okay. And besides Nina Andrews and              6   the congressman about the job on that occasion
 7     the congressman, obviously, and yourself, was             7   when Nina was not present, right?
 8     anyone present at the interview that took place           8     A.     Yes.
 9     at the restaurant?                                        9     Q.     Did the congressman agree to pay
10       A.      No.                                            10   $90,000 in that same conversation or at a later
11       Q.      Do you know why Nina was there?                11   time?
12       A.      You would have to ask him.                     12     A.     I believe it was at a later time.
13       Q.      All right. What were you making                13     Q.     And do you know if it was a verbal
14     salary-wise at the Committee on House                    14   communication, like a phone call or meeting, or
15     Administration at the time that you interviewed          15   a written communication like an e-mail or a
16     with Congressman Cuellar?                                16   text?
17       A.      80,000.                                        17     A.     I don't recall.
18       Q.      And so he offered you what you were            18     Q.     Did you -- at the time of this
19     making --                                                19   conversation when the congressman offered you
20       A.      Yes.                                           20   the position of deputy chief of staff, did the
21       Q.      -- at the Committee on House                   21   congressman's office have a chief of staff?
22     Administration?                                          22     A.     No.
                                                      Page 39                                                      Page 41
 1              Can you tell me a little bit more                1     Q.     Okay. And was there any talk about
 2     about why he was recommending that you be the             2   filling the vacant chief of staff position?
 3     legislative director?                                     3     A.     He told me that he was not filling
 4       A.      I have no -- you would have to ask              4   it. That the woman who had left and taken
 5     him.                                                      5   another job, he was going to give it a year to
 6       Q.      Was being the legislative director              6   make sure that she was happy and didn't want to
 7     anything that you and Nina discussed about a              7   come back.
 8     possibility when you joined the office?                   8     Q.     So was your understanding, then,
 9       A.      Not that I recall.                              9   that you would be deputy chief of staff on a --
10       Q.      Was Nina present when you were                 10   for at least a year?
11     talking about salary?                                    11     A.     Yes.
12       A.      I don't recall.                                12     Q.     There is no discussion about the
13       Q.      Was Nina present for all of the --             13   possibility of a promotion to chief of staff?
14     was it the dinner, lunch?                                14     A.     There was. He told me that that
15       A.      Dinner.                                        15   could be a possibility.
16              And, at the end, before he                      16     Q.     Okay. Did you talk about a timeline
17     officially offered me the job, he did have her           17   for that at all?
18     leave, but I don't remember if salary had been           18     A.     No, not -- not past the one year
19     discussed before or after she was -- she left.           19   that he had mentioned.
20       Q.      So at some point Nina left and then            20     Q.     Do you know Patrick Malloy?
21     the congressman offered you the job; is that             21     A.     Yes, that name sounds familiar.
22     right?                                                   22           Can you give me more information?
                                                                                                                             EX 1
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 1       Q.     Sure.                                           1     Q.     So early on around the time that you
 2             My understanding is Patrick Malloy               2   started, whether it was before or just after
 3     was your immediate predecessor in the                    3   you started.
 4     congressman's office, so I think he was the              4           Did you talk about, you know, the --
 5     deputy chief of staff until in or about May of           5   the prospect of making more than 90,000?
 6     2018?                                                    6     A.     I don't recall.
 7       A.     I don't know.                                   7           MR. BLAKE: Let's make this
 8             The chief of staff -- the -- the                 8   Defendant's Exhibit 2. The Bates number is HC
 9     deputy chief of staff before me, I don't recall          9   1155.
10     her name, Amy Travieso maybe, but that's who            10           (Deposition Exhibit 2 was marked for
11     was right before me as deputy chief.                    11   identification.)
12       Q.     Okay. So what's your recollection              12           BY MR. BLAKE:
13     about Patrick Malloy?                                   13     Q.     Mrs. Small, would you, please, just
14       A.     Nothing really.                                14   review Exhibit 2 and let me know when you've
15             I'm not saying that there isn't                 15   had a chance to fully read it?
16     something, but I can't -- I can't think of              16     A.     (Witness complies.)
17     anything.                                               17           Yes, I recall this.
18       Q.     So did you know that Patrick Malloy            18     Q.     Can you, just for the record,
19     was one of the congressman's deputy chiefs of           19   explain what Exhibit 2 is?
20     staff at some point?                                    20     A.     Exhibit 2 is my written explanation
21       A.     I can't say yes or no. I don't                 21   of a discussion we had. It was not at the very
22     know.                                                   22   beginning of my hiring. I'm sure you would
                                                     Page 43                                                       Page 45
 1       Q.     What was your understanding of the              1   have the exact date if need be; but, yeah, we
 2     duties that you would be taking on as the                2   -- we -- I discussed with him that in around
 3     deputy chief of staff of the congressman?                3   eight months from then when I would have been
 4       A.     So my understanding was that -- and             4   having a baby that would be going to daycare,
 5     I'm referencing my resume as well, that I would          5   that this is what it would look like for me to
 6     oversee and run the staff. I would do training           6   be able to afford that.
 7     and I would provide an overall management to             7     Q.     Okay. And do you know when this
 8     both the district and D.C. office.                       8   Exhibit 2 was prepared?
 9       Q.     And just as we did before with the              9     A.     I do not.
10     Committee on House Administration, does your 10                Q.     You prepared Exhibit 2, right?
11     resume, Small 307, Defendant's Exhibit 1,               11     A.     Correct.
12     accurately reflect your job duties while you            12     Q.     As far as you can tell, is this a
13     were the deputy chief of staff/acting chief of          13   true and accurate copy of this document?
14     staff for the congressman?                              14     A.     Yes.
15       A.     Yes.                                           15     Q.     So I just want to call your
16       Q.     Okay. Anything that's missing?                 16   attention to the second bullet on Exhibit 2.
17       A.     Not that I can think of.                       17     A.     Uh-huh.
18       Q.     Going back to the -- around the                18     Q.     It says "That said, I wanted to
19     start of your employment, was there any                 19   discuss my financial future with you. We had a
20     discussion about your salary and chances for            20   general discussion about salary and daycare
21     increasing that beyond the 90,000?                      21   cost when I began my job. I'd like to refresh
22       A.     At what point in time?                         22   what we went over."
                                                                                                                             EX 1
                                                                                                   12 (Pages 42 - 45)
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 1             Do you know when that general                    1     A.   Yes.
 2     discussion that you were referring to in                 2     Q.   Okay. And he knew that you were
 3     Exhibit 2 happened?                                      3   married?
 4       A.     I don't recall, but I do know that              4     A.   Yes.
 5     we had to switch daycares, and it became                 5     Q.   Okay. At the time, he did not know
 6     significantly more cost-wise because I was               6   that you were pregnant --
 7     switching -- we were switching her daycare to            7     A.   I did not --
 8     accommodate what my new office hours would be, 8               Q.   -- or did you --
 9     which were very long.                                    9     A.   -- know I was pregnant.
10       Q.     Do you know about when you switched            10     Q.   Okay. So he -- so he didn't know
11     daycares?                                               11   that you were pregnant?
12       A.     Probably -- I have to think about              12     A.   Correct.
13     that.                                                   13     Q.   Okay.
14             What was my start day with                      14     A.   And dur- -- during our interviews, I
15     Congressman Cuellar?                                    15   expressed to him that the one thing that was
16       Q.     June 1st, 2018.                                16   extremely important to me was that if I needed
17       A.     So around then. It would be around             17   to take care of Cadence if she was sick, like,
18     that time. Maybe a month after, but it was              18   that would be my first priority. So just so,
19     really close to that time frame of getting the          19   you know, he was clear before he hired me that
20     new job.                                                20   I did have this beautiful daughter and that I
21       Q.     So would you then, based on that,              21   would have to take care of her if, you know,
22     think that this general conversation referenced         22   circumstances where -- where she was not
                                                     Page 47                                                    Page 49
 1     in Bullet 2 about salary and daycare costs       1           healthy.
 2     happened in June of 2018?                        2              Q. Right.
 3        A. I can't say.                               3                  Did you talk to the congressman
 4        Q. Do you think it would have been any        4           about the prospect of having a second child
 5     later than June of 2018?                         5           somewhat imminently?
 6        A. I don't know.                              6              A. I have never spoke to him about
 7        Q. Okay. So if we can pinpoint when --        7           that.
 8     Kadence, right?                                  8              Q. So when you were talking about -- if
 9        A. Uh-huh.                                    9           you look at the third bullet, the second to
10        Q. When Cadence started at the new           10           last sentence says "Eventually, we will have a
11     daycare, that would give us a sense of when you 11           second child in daycare where another
12     had this conversation, right?                   12           approximately $2,000 will be spent."
13        A. I don't know.                             13              A. Yes.
14        Q. Do you know when, going back to           14              Q. This estimates approximately --
15     Exhibit 2 here, you talk about wanting to       15              A. Yes.
16     refresh what -- when -- what we went over? Do 16                Q. -- $15,000 a year in daycare?
17     you remember when that later conversation, the 17               A. Well, it wasn't a prospect at that
18     refreshed conversation happened?                18           point. I was pregnant.
19        A. It was later in my employment and         19              Q. Okay. Well, you were pregnant when
20     that's what brought this about.                 20           you prepared Defendant's Exhibit 2, right?
21        Q. So when you were hired by the             21              A. Yes.
22     congressman, did he know that you had Cadence? 22               Q. But did you talk about this
                                                                                                                          EX 1
                                                                                                13 (Pages 46 - 49)
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 1     possibility --                                             1     A.      Not that I recall.
 2       A.      No.                                              2     Q.      Okay. So there was no discussion
 3       Q.      -- in your initial conversation                  3   about we'll revisit this in, you know, six
 4     that's referenced in Bullet 2?                             4   months?
 5       A.      No.                                              5     A.      Not that I recall.
 6       Q.      But, just to be clear, you denote                6     Q.      Did you talk at all about the
 7     that you had one child and he knew that you                7   possibility of getting a bonus, you know, not
 8     were married at the time that he hired you,                8   just salary but also getting a bonus?
 9     right?                                                     9     A.      Not that I remember.
10       A.      Yes.                                            10     Q.      All right. So one of our
11              And before you ask, I will need to               11   million-dollar questions in this case is the
12     take a bathroom break --                                  12   probationary period.
13       Q.      Sure?                                           13          When did you first learn about the
14       A.      -- whenever --                                  14   probationary period in the congressman's
15              MR. BLAKE: Why don't we take a                   15   office?
16     break now. So let's go off the record.                    16     A.      When he responded to my e-mail
17              (A short recess was taken.)                      17   asking for maternity leave.
18              BY MR. BLAKE:                                    18     Q.      Okay. And so that was in August of
19       Q.      I just want to ask you quickly about            19   2018 -- around August -- I think it was August
20     your resume, Defendant's Exhibit 1.                       20   8th of 2018; is that right?
21              So based on this resume, it looks                21     A.      That sounds approximate. I don't
22     like your duties for the congressman were very            22   remember.
                                                       Page 51                                                        Page 53
 1     different from your duties for the Committee on            1     Q.      Okay. So your contention, then, is
 2     House Administration.                                      2   that before this response to this e-mail in
 3              Would you say that that's an                      3   20 -- in August of 2018 that you were unaware
 4     accurate assessment?                                       4   of your probationary period; is that right?
 5       A.      Yes.                                             5     A.      100 percent.
 6       Q.      Also, just briefly going back to                 6     Q.      Did you -- let me back up.
 7     your salary conversation with the congressman              7          When you learned about your
 8     around the time that you started a little bit              8   probationary period, then, from this e-mail,
 9     before, just to be clear, he offered $80,000,              9   did you -- how did you respond to the
10     right?                                                    10   congressman?
11       A.      Yes.                                            11     A.      I believe the way I responded to him
12       Q.      You countered with 90,000; is that              12   was just as an employee just saying okay, I
13     right?                                                    13   understand. I don't -- I don't believe that I
14       A.      I don't recall.                                 14   pushed back. You know, he was my boss. So if
15       Q.      You countered with some amount; is              15   he wanted to say that there was a 90-day
16     that right?                                               16   probationary period at that point, I -- I
17       A.      Correct.                                        17   questioned my coworkers. I said, what is this?
18       Q.      And you agreed to 90,000; is that               18   What -- have you -- were you on a probationary
19     right?                                                    19   period? And no one that had currently -- that
20       A.      Correct.                                        20   was currently working in the office had ever
21       Q.      And did you talk about, you know, if            21   been on a probationary period, and I helped
22     and when a future raise might happen?                     22   hire two of those people, and I was with him
                                                                                                                                EX 1
                                                                                                     14 (Pages 50 - 53)
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 1     during all of the interviews and final                     1   characterization in -- that's in the e-mail at
 2     conversations and none of them were ever told              2   the bottom of this page; is that accurate?
 3     there was a 90-day probationary period.                    3     A.    I disagreed with not having an
 4       Q.    Okay. And who did you help hire?                   4   option to when the meeting would be --
 5       A.    Travis and Madeline.                               5     Q.    Okay.
 6       Q.    And that's Travis Knight, and how do               6     A.    -- because I -- he did not give me
 7     you say Madeline's last name?                              7   an option.
 8       A.    Abadie.                                            8     Q.    Okay. So the note for the record
 9       Q.    So, to be clear, you did not push                  9   was you were just making a record that you did
10     back when the congressman sent you this e-mail 10              not agree with something that he had indicated;
11     talking about your probationary period even               11   is that right?
12     though you were surprised by that e-mail?                 12     A.    Note to self.
13       A.    I believe that's correct.                         13     Q.    Note to self, yes.
14       Q.    Okay. Did you ever -- I'll make HC                14     A.    Yes.
15     399, Exhibit 3.                                           15     Q.    So this is not about whether a
16            (Deposition Exhibit 3 was marked for               16   probationary period exist. This, Exhibit 3, is
17     identification.)                                          17   about, I guess, whether or not you agreed to
18            BY MR. BLAKE:                                      18   meet at a certain time; is that right?
19       Q.    So Exhibit 3 appears to be a -- an                19     A.    Can you repeat the question?
20     e-mail from you to yourself indicating, "Note             20          MR. BLAKE: Would you mind reading
21     for the record, I did not agree to this." And             21   it back? I just want to make sure it's
22     it says some other things.                                22   accurate.
                                                       Page 55                                                         Page 57
 1            So would it be fair to say that this                1          (The record was read as requested.)
 2     e-mail is a note to self just kind of setting              2          THE WITNESS: Well, no, because it
 3     forth a contemporaneous record indicating that             3   says here he wrote, which is the 30-day
 4     you disagreed with something that the                      4   performance review date.
 5     congressman stated you had agreed to?                      5          BY MR. BLAKE:
 6            And, yes, please take your time to                  6     Q.    Okay. So let me try to make this a
 7     read the document. I'm sorry.                              7   little easier. In the first -- the second
 8       A.    So the bottom e-mail, it's the first               8   sentence after a note for the record, at the
 9     correspondence?                                            9   top e-mail you say, "I did not agree to this."
10       Q.    I believe so.                                     10          What did you not agree to?
11       A.    From him?                                         11     A.    I did not agree to extending it with
12            Oh, yeah.                                          12   -- after he was gone.
13       Q.    Do you want me to repeat my                       13     Q.    Okay.
14     question?                                                 14     A.    It was just told to me and I
15       A.    Yes.                                              15   accepted it.
16       Q.    Okay. So this e-mail -- and, just                 16     Q.    Okay. So did you ever write a
17     to be clear, so this is an e-mail from -- an              17   similar note to self or note for the record
18     e-mail chain from September 28th, 2018, between 18             about disagreeing that you had been told that
19     the congressman and you and then between you              19   there was a 90-day probationary period when you
20     and you. This e-mail looks to me to be a note             20   started?
21     to self from you to you indicating that you               21     A.    I don't understand the question.
22     disagreed with the congressman's                          22     Q.    So when Congressman Cuellar said "We
                                                                                                                                 EX 1
                                                                                                    15 (Pages 54 - 57)
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 1     done, right?                                               1            (Deposition Exhibit 15 was marked
 2       A.     No.                                               2   for identification.)
 3             I do have basis from his end. When                 3            (Deposition Exhibit 16 was marked
 4     I told him I was pregnant he was not -- he did             4   for identification.)
 5     not really show any emotion. He might have                 5            BY MR. BLAKE:
 6     said congratulations; but, again, it wasn't,               6      Q.     So I passed around two exhibits, 15
 7     like, yay, congratulations.                                7   and 16. 15 is Bates labeled HC 38 and 39. 16
 8             And then we were having a staff                    8   is Bates labeled HC 41 and 42.
 9     meeting right after, and I was like, hey, I was            9            Looking at Exhibit 15, Mrs. Small,
10     referring to him, should I share the good news?           10   this is -- the title of this is
11             And he was, like, what news?                      11   "Confidentiality Agreement."
12             And I was, like, I'm pregnant.                    12            Do you recall signing this
13             He was, like, oh, oh, that's up to                13   confidentiality agreement when you started
14     you. Just kind of just, like, shoved it off,              14   working for the congressman?
15     and we really never talked about it again.                15      A.     Yes.
16     Never asked me, like, how I was doing, you                16      Q.     Okay. And it says that you signed
17     know. It was kind of just, like, I don't know.            17   this June 1st, 2018.
18     It -- it wasn't a welcoming response.                     18            Does that seem accurate?
19       Q.     We will do a few more exhibits.                  19      A.     Yes.
20             So I have the congressman's                       20      Q.     Did you read and understand this
21     handbook, but I think you might know the answer 21             confidentiality agreement?
22     to this without having to go through --                   22      A.     Yes.
                                                      Page 107                                                      Page 109
 1        A.    I'm sure I do.                       1                   Q.     Okay. So just I want to say for the
 2        Q.    -- the whole rigamarole.             2                record -- so Paragraph 3 says, "Staff shall
 3             So you did receive a handbook from    3                maintain in the strictest confidentiality all
 4      the congressman, correct?                    4                written or oral information learned or
 5         A. I did.                                 5                discussed with staffing member and/or his
 6         Q. And you did look at the FMLA policy 6                   employing office. Staff will not directly or
 7      in the handbook; is that right?              7                indirectly communicate or divulge to or for the
 8         A. I did.                                 8                benefit of any person or other legal entity any
 9         Q. And the congressman's policy, when 9                    of the members and/or employing office's files,
10      you were working there, was to provide paid 10                documents, correspondence, practices,
11      FMLA leave; is that right?                  11                procedures or other confidential information."
12         A. Yes.                                  12                         Do you -- did I read that
13         Q. And you know that the law does not 13                   accurately?
14      require employers to provide paid leave -- 14                    A.     Yes.
15         A. I do.                                 15                   Q.     Paragraph 5 also says that employee
16         Q. -- maternity leave; is that right?    16                reads and under -- read and understand, and you
17         A. Uh-huh.                               17                indicated that you read and understood that,
18         Q. Okay. So the congressman was          18                right?
19      providing paid leave, but was not legally   19                   A.     Yes.
20      required to do that, right?                 20                   Q.     And Paragraph 6 says, "Staff
21         A. That's what the handbook said. He 21                    understands and agrees that any violation of
22      never approved my leave.                    22                this agreement may result in immediate
                                                                                                                               EX 1
                                                                                                   28 (Pages 106 - 109)
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 1     where it wasn't just being a tough boss. It                1     A.      After I left.
 2     was being just a truthfully not nice person.               2     Q.      All right. So during your
 3     There's a difference between a mean boss and a             3   employment with the congressman, you made no
 4     person that's genuinely not nice.                          4   formal or informal ethics complaint against the
 5       Q.      So taking out, like, discrimination,             5   congressman; is that right?
 6     your claim, I just want to focus on. So what,              6     A.      Correct.
 7     besides that, made him, like, not a nice boss,             7     Q.      So we started talking about this.
 8     including anything that you think was unethical            8          Actually, do you mind if we take a
 9     under house rules?                                         9   break?
10       A.      I mean, just everything I've already            10     A.      I don't mind.
11     stated about his demands and his fickleness of            11          (A short recess was taken.)
12     knowing whether he approved things or not, and 12                     (Deposition Exhibit 17 was marked
13     whether had they been approved in the past and            13   for identification.)
14     he still -- he's acting like they still need              14          (Deposition Exhibit 18 was marked
15     changed, and it's never really pleasant in                15   for identification.)
16     general. He's always a crab around the office.            16          BY MR. BLAKE:
17     Cutting up the apples, eight pumps of creamer             17     Q.      We have a couple new exhibits. One
18     in the coffee. It was just difficult.                     18   is 17, which is your amended complaint, Mrs.
19       Q.      So if you had not been let go in                19   Small, and then the second new exhibit is 18,
20     October of 2018, do you think you would have              20   and that's Bates labeled Small 3 and 4.
21     stayed there longer -- much longer?                       21          In Paragraph 32 of your amended
22       A.      I had no plans of leaving. I don't              22   complaint, you allege that "Plaintiff
                                                      Page 123                                                        Page 125
 1     know. I can't say how long I would have                    1   immediately encountered significant challenges.
 2     stayed.                                                    2   Cuellar's office was disorganized and lacked
 3       Q.      I just want to go back. So we                    3   policies and procedures."
 4     talked about ethics again. So, for the record,             4            So can you tell us a little about --
 5     you never formally made an ethics complaint                5   well, first of all, does that accurately
 6     against the congressman, right?                            6   reflect your impression of the congressman's
 7       A.      It was informal.                                 7   office at the time that you started working
 8       Q.      Okay. And you -- and -- and you                  8   there?
 9     never made a formal anonymous complaint against 9                A.      Yes.
10     the congressman --                                        10     Q.      Okay. And can you explain a little
11       A.      It was not anonymous.                           11   bit about what made you think that -- what
12       Q.      Okay. So you made an inquiry?                   12   challenges you encountered and what made you
13       A.      Informal inquiry.                               13   think that the office was disorganized and
14       Q.      Okay. And it was not anonymous?                 14   lacked policies and procedures?
15       A.      No.                                             15     A.      The office was disorganized and
16       Q.      To ethics?                                      16   lacked policies and procedures due to the fact
17       A.      I did.                                          17   that the position had been vacant, and so the
18       Q.      While you were employed by the                  18   staff had no direction. They really had nobody
19     congressman?                                              19   to report to, and so they were actually
20       A.      No.                                             20   thankful and said so to me, that I was there,
21       Q.      Okay. After you left or before you              21   and that things could quote/unquote, like,
22     started?                                                  22   come -- get back together. Because, I guess,
                                                                                                                                 EX 1
                                                                                                  32 (Pages 122 - 125)
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 1     it had just been, like -- there had been no               1   know, a lot of the rules and policies and
 2     direction and no boss there directly to them.             2   procedures, I was able to extend that knowledge
 3     Of course, the congressman was their boss, but            3   to them, which was good. So that was one of
 4     he's busy so he wasn't keeping up with the                4   the things.
 5     day-to-day administrative functions.                      5     Q.      So when you say "education to the
 6       Q.   Do you have any examples of the                    6   staffers," like, what specifically do you think
 7     kinds of policies and procedures that were                7   was lacking education-wise for the young
 8     lacking at that time?                                     8   staffers?
 9       A.   I think mainly it was the reporting.               9     A.      I don't -- I don't think they knew a
10     They didn't really have anyone to report to.             10   whole lot about actual, like, house rules in
11     They were still doing reports. But, again, I             11   regard to -- and also house resources. Like,
12     don't know that he was able to, you know --              12   they had to be introduced, not all of them, but
13     able to pay the attention to them that someone           13   some of them to, like, CRS to know that they
14     in my position would be able to.                         14   could go and get research there, and other
15       Q.   So a minute or so ago you said that               15   resources that were available to them. Library
16     you think some of the problems stem from the             16   of Congress, like, you know, you can go over
17     fact that the position was vacant. And, just             17   there and do things, and then there was some
18     for the record, what position were you                   18   every -- you know, everyday things.
19     referring to?                                            19          I recall I think -- I don't remember
20       A.   Deputy chief of staff and also his                20   exactly what the particular issue was, but it
21     chief of staff position had been vacant.                 21   was something that Zack Linick -- I showed him,
22       Q.   All right. So when you first                      22   like, something really simple on the computer
                                                     Page 127                                                      Page 129
 1     started there, did you have any thoughts about            1   that was, like, a resource. And he was, like,
 2     things that were working well in the office?              2   oh, my god, that changed my life. Like, how
 3       A.   Staff members were competent, and                  3   did I not know that? It was a directory maybe
 4     they were working well. It was just                       4   or -- I don't know. I don't remember exactly
 5     disorganized again because there was no                   5   what it was, but it was just things that young
 6     authority boss figure for them to go to in that           6   staffers wouldn't necessarily know unless
 7     deputy chief or chief role.                               7   someone told them.
 8       Q.   So would you say that you inherited                8     Q.      And do you think, like, some of the
 9     a mess when you started?                                  9   things that staffers didn't know was that those
10       A.   Correct. It was messy.                            10   things were adversely impacting how the office
11       Q.   Messy?                                            11   was running?
12       A.   Yeah.                                             12     A.      Yes. Yes.
13       Q.   Are there some things that you                    13     Q.      And do you think that that bothered
14     recall thinking at that time when you started            14   the congressman?
15     needed to be improved in the office?                     15     A.      I think the disorganization did.
16       A.   Improvements would have been the                  16     Q.      Okay. So when you were talking to
17     reporting procedure because there was none               17   the congressman about taking this job and
18     existing at that time because the positions              18   shortly after you started -- started in his
19     were vacant. Improvements on the education of            19   office, did you talk about how in your role you
20     the young staffers just because they were                20   might address some of these failings in the
21     young, and coming from the background that I             21   office?
22     came from at House Administration knowing, you 22               A.      Yes.
                                                                                                                              EX 1
                                                                                                 33 (Pages 126 - 129)
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 1       Q.    Okay. And do you remember                         1      A.     So I don't think that she -- it's
 2     specifically anything that you-all talked about           2   saying that they weren't doing a good job. I
 3     needing to improve or fix or otherwise develop?           3   think she's saying that I wasn't the press
 4       A.    I don't recall.                                   4   people. So as far as I could guide them and
 5       Q.    When you left the office in October               5   help them and review things, if Congressman
 6     of 2018, how did your impressions about the               6   Cuellar had a problem with the press team and
 7     state of the office change, if at all, from               7   how they were doing, then that should have been
 8     when you started in June?                                 8   addressed with them, and it wasn't.
 9       A.    The office was much more well                     9      Q.     So what was your role, then, like --
10     organized. The staffers were trained much more 10                A.     To oversee --
11     appropriately to be able to use resources that           11      Q.     -- with respect to the press team?
12     they had not known about, and just a general             12      A.     -- to proofread. And if I'm being
13     sense of planning and organization coming from 13             terminated because of one of the reasons he's
14     my end saying, you know, here's the timelines,           14   saying is that the press was bad, I -- I don't
15     here's a deadline, here's a this, here's a               15   understand how I could be held responsible for
16     that, here's a this. That definitely improved.           16   the direct actions and work of other
17       Q.    I just want to call your attention               17   individuals.
18     to Exhibit 18. Exhibit 18 is a letter, I                 18      Q.     Okay. But were you the supervisor
19     believe, from your former attorney, and it               19   of the press team?
20     indicates that the press team doing a bad job            20      A.     Yes.
21     was the direct result of their work product,             21      Q.     And who's the -- who's the head of
22     helping the press team was not something for             22   the press team at that time? What was -- what
                                                     Page 131                                                       Page 133
 1     which Mrs. Small was deficient or failed to do.           1   position, the comms director?
 2            Do you agree with that statement?                  2      A.     There was no comms director, but I
 3       A.    Yes.                                              3   would say that Olya was the one that had the
 4       Q.    And can you just explain a little                 4   most tenure.
 5     bit about why you believe that to be the case?            5      Q.     And what was her position when you
 6       A.    I believe the case is that they were              6   were there? Was she press secretary?
 7     learning. I do think that they were doing the             7      A.     Yeah, something like -- something to
 8     job that they were supposed to be doing. I                8   that effect.
 9     think that the difficulty wherein he would                9            She wanted to be the director, but
10     approve things and then disapprove them, and             10   he would -- did not -- he didn't give her that
11     then not remember that things, you know, had             11   title.
12     been approved. Am I answering your question.             12      Q.     Did you have any problems with
13            What was the question?                            13   staffers in your office, like personally or
14       Q.    Yes.                                             14   professionally when you were in Congressman
15            That in a nutshell -- I mean, and                 15   Cuellar's office?
16     it's in the document, so if I'm not                      16      A.     The only problem I had with -- with
17     representing it accurately in your view you can          17   staff was really just trying to have Nina be
18     look at what's in the document. But,                     18   accountable for her whereabouts. Everyone else
19     basically, I think your attorney wrote that the          19   I really got along with.
20     press team was not necessarily doing a great             20      Q.     Did you have any issues with Jessica
21     job, but that that wasn't your fault, and so I           21   Hernandez?
22     was asking for your thoughts about that?                 22      A.     So at the very beginning, Jessica
                                                                                                                               EX 1
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 1     and I, I think, were two strong women trying to            1   constituents. And I went to Texas and did a
 2     figure out our new roles, and we didn't have               2   staff training that went over those things.
 3     any sort of argument or anything. But when I               3   Also had a speaker on best business practices.
 4     traveled to Texas to do the training, we had               4   And I -- I don't remember exactly what the
 5     spent the whole couple of days together and                5   order was of everything I went over, but I'm
 6     ended up being really, like, pretty close.                 6   sure we have that somewhere. And the training
 7       Q.      How many trips to the district did               7   was, you know, really well thought out and
 8     you make?                                                  8   staff -- district staff really thanked me, and
 9       A.      Just one.                                        9   said we've never don anything like this before.
10       Q.      What was your relationship like with            10   This was really great. We sometimes -- like,
11     Madeline?                                                 11   D.C. ignores us. So doubling of learning
12       A.      Madeline was new. Madeline was                  12   this -- these things and just having you here
13     fresh out of college. Madeline had never been             13   is really nice.
14     in a position like this, and I was her boss; so           14         There were -- I did -- I did
15     it was a professional relationship. If things             15   approximately five or six trainings, so that
16     were -- if she was doing things that were                 16   was three. The other three I would have to
17     outside of good practice, then I relayed those            17   look back on to tell you exactly what they
18     to her.                                                   18   were, but I -- I know that I did five or six
19       Q.      So would you say that you had a good            19   different trainings within the short period
20     relationship with her?                                    20   that I was there. I think I counted ethics as
21       A.      I would say I had a professional                21   one of them, so that would have been four. And
22     relationship with her. And she wasn't -- we               22   then I -- I would have to look back for the
                                                      Page 135                                                       Page 137
 1      didn't work together very long.                1              other two.
 2         Q. Okay. So, in your resume, Exhibit        2                 Q. How -- so, in your resume, Exhibit
 3      1, under -- actually, your complaint, sorry.   3              1, you say that you managed the legislative
 4              Complaint Exhibit 17, Paragraph 34, 4                 plan of the member.
 5      you indicate that you made significant         5                     What was the legislative plan of the
 6      improvements in the office by establishing     6              member?
 7      policies and procedures, conducting staff      7                 A. During my tenure, the main
 8      training and improving overall efficiency.     8              legislative plan of the member was
 9              Could you just specify the things      9              appropriations and the border wall. So those
10      that you did to establish policies, trained   10              two things were plenty to take up all of --
11      staff, and improve overall efficiencies?      11              pretty much the time that we had, and those
12         A. So policy-wise, one of the things I 12                  were his two focuses and self-expressed, by
13      did was make sure that everyone was -- did 13                 him, those were the two main things he cared
14      their ethics training on time. Training-wise, 14              about.
15      my first day on the job I did a polycom video15                  Q. So at -- when you were there, he was
16      training speech about confidentiality and     16              on the appropriations committee, right?
17      proper rapport and how to deal with difficult 17                 A. Correct.
18      constituents. I actually think those might    18                 Q. Was he on a subcommittee at that
19      have been separate. The constituent one was 19                time?
20      later. So that's two trainings.               20                 A. No, not that I recall.
21              One on confidentiality, one on        21                     He was part of the Blue Dogs, which
22      rapport, and how to deal with difficult       22              is not a committee.
                                                                                                                                EX 1
                                                                                                35 (Pages 134 - 137)
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 1       Q.    Okay. What is Blue Dogs?                          1     A.    No.
 2       A.    The Blue Dogs are a group of                      2     Q.    Okay. So you started with no
 3     conservative democrats.                                   3   leave -- no sick leave and no annual leave; is
 4       Q.    And, at the time, was there a                     4   that right?
 5     specific legislation that you were overseeing             5     A.    None that was carried over, no.
 6     during your time there that had to do with                6     Q.    So you started to accrue leave when
 7     appropriations?                                           7   you started in the congressman's office?
 8       A.    It wasn't specific, it was as a                   8     A.    Yes.
 9     whole. Because appropriations has, like, a ton            9     Q.    Now, while you were working for the
10     of things going on at once, and so all of that           10   congressman, did he ever deny an annual leave
11     combined is what I was overseeing.                       11   request of yours?
12       Q.    When you -- you were a legislative               12     A.    Not that I recall.
13     assistant for Congressman Brady; is that right?          13     Q.    Okay. And did he ever deny -- and I
14       A.    Yes.                                             14   know -- did he ever deny an FMLA request that
15       Q.    So what were your legislative areas              15   was made during, like, the course of your
16     at that time?                                            16   employment?
17       A.    My legislative areas were labor,                 17          So not, you know, looking forward to
18     government reform, postal services -- can I              18   after you delivered, but, like, during the
19     look at my resume?                                       19   course of your employment with him?
20       Q.    Yeah, absolutely.                                20     A.    He did not approve or deny.
21       A.    I was -- very long time ago.                     21     Q.    Okay. Well, you took FMLA leave for
22     Agriculture was the one that I missed.                   22   prenatal appointments during your time with
                                                     Page 139                                                     Page 141
 1       Q.    But you did not do any                            1   him, right?
 2     appropriations --                                         2     A.    No, not FMLA.
 3       A.    I did not.                                        3          I would just take sick leave -- or
 4       Q.    -- work for Congressman Brady?                    4   not sick leave, vacation leave.
 5       A.    I did not.                                        5          (Deposition Exhibit 19 was marked
 6       Q.    So just drawing your attention to                 6   for identification.)
 7     your resume, Exhibit 1, under Congressman                 7          (Deposition Exhibit 20 was marked
 8     Cuellar, you don't have a bullet, I don't                 8   for identification.)
 9     think, that talks about training specifically.            9          BY MR. BLAKE:
10            Why is that?                                      10     Q.    Exhibits 18 and 19 -- I'm sorry --
11       A.    I guess it's an oversight. I need                11   19 and 20. 19 is HC 1148, and it is an annual
12     to add that.                                             12   leave request form. And 20 is HC 1149, and it
13       Q.    Okay. So adding that to the resume,              13   is a sick leave request form.
14     just want to make sure, again, what is -- what           14          So just looking at Exhibit 19, this
15     you have under Congressman Cuellar, otherwise, 15             was a request for four days of annual leave
16     is -- is accurate and nothing is missing or              16   that you made on or about June 15th, 2018; is
17     otherwise needs to be changed, right?                    17   that correct?
18       A.    Not that I can think of.                         18     A.    No, it was four hours.
19       Q.    Okay. When you started at                        19          Oh, no, you're right. I'm sorry.
20     Congressman Cuellar's office, did you carry              20   It was four days.
21     over any leave from the Committee on House               21     Q.    Okay. And so you -- and -- and you
22     Administration?                                          22   made this request on or about June 15th, 2018?
                                                                                                                             EX 1
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 1       A.      I don't recall what this was for. I               1   it.
 2     believe I had a trip planned prior to being                 2         Q.    Do you know was there ever a
 3     hired.                                                      3   neonatal appointment that you had during the
 4       Q.      It might have been for your                       4   time -- that you had scheduled during the time
 5     sister-in-law's wedding. Colorado?                          5   that you were working for the congressman that
 6       A.      Yes.                                              6   he didn't allow you to attend?
 7       Q.      I know I know too much about your                 7         A.    Okay. He allowed me attend my
 8     life. I'm sorry.                                            8   appointments.
 9       A.      No, that's good. I appreciate the                 9         Q.    Are you aware of the congressman
10     reminder.                                                  10   ever denying anyone else in the office, anyone
11       Q.      So -- okay. So at the time that you              11   besides you, an FMLA leave request?
12     requested this leave a couple of weeks into                12         A.    I don't have knowledge to that.
13     starting with the congressman, you did not yet             13         Q.    Okay. So while you were there, did
14     have four days of annual leave; is that right?             14   anyone make an FMLA leave request that you're
15       A.      I don't recall, but that sounds                  15   aware of?
16     right.                                                     16         A.    No.
17       Q.      Okay. But he did approve --                      17         Q.    Do you think the congressman treated
18       A.      He did.                                          18   you differently than he treated other people?
19       Q.      -- the leave request?                            19              And, I mean, in any way, just
20              And, then, looking at Exhibit 20,                 20   day-to-day, did he treat you differently?
21     this was a request made on or about -- I'm                 21         A.    I think after I told him I was
22     sorry, not Canadian.                                       22   pregnant he treated me differently. He was
                                                       Page 143                                                       Page 145
 1              On or about July 5th, 2018, and it                 1   coming up with much more criticism.
 2     is for sick leave pregnancy, is what's                      2         Q.    Whom do you think he treated more
 3     indicated, for 1.5 hours of leave; is that                  3   favorably than you in the office?
 4     right?                                                      4         A.    The guys.
 5       A.      Correct.                                          5         Q.    Do you think he was also treated --
 6       Q.      Okay. And so you made this request                6   also treated other women decides you
 7     on or about July 5th, 2018, and it looks like               7   unfavorably?
 8     the congressman approved it on or about July                8         A.    I do.
 9     8th, 2018.                                                  9         Q.    Compared to the men in the office?
10              Does that sound right?                            10         A.    I do.
11       A.      Correct.                                         11         Q.    And do you have any examples showing
12       Q.      All right. So did the congressman                12   differential treatment based on gender by the
13     ever deny any sick leave request that you made             13   congressman?
14     related to pregnancy?                                      14         A.    I saw harsher criticism on the young
15              So not FMLA. For, you know,                       15   women than I did on the young men.
16     delivery and post delivery, but did he deny any            16         Q.    Were there any -- when you say
17     request for prenatal care or anything like                 17   "young," what age are you talking about?
18     that?                                                      18         A.    The young staffers were probably
19       A.      He never responded to my document                19   anywhere from 22 to 25, 26, and that was the
20     that listed all of my doctors' appointments, so            20   majority of the staff. The other people were
21     he did not approve nor deny that. But,                     21   the military fellows who were more tenured in
22     specifically, for Document 20, yes, he approved            22   age.
                                                                                                                                 EX 1
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 1       Q.      Okay. So both male and female                   1     Q.    Right.
 2     staffers were in that kind of early to mid-20s            2          So this -- your e-mail to the
 3     range, for the most part?                                 3   congressman about needing maternity leave was
 4       A.      For the most part.                              4   August 8th, 2018.
 5       Q.      Okay. And you believe that the                  5          Before August 8th, 2018, can you
 6     congressman treated the male employees more               6   describe feedback that you received from the
 7     favorably than the female employees?                      7   congressman about your work?
 8       A.      Yes.                                            8     A.    Not specifically. There's nothing
 9       Q.      Okay. And so in one way it was more             9   that jumps out at me. There was nothing that
10     harsh criticism directly toward women.                   10   was tagged as an infraction or something I was
11            Anything else?                                    11   doing wrong. We had a good rapport. I believe
12       A.      Not at this time. I would have to              12   even after the maternity leave e-mail was sent
13     think about it more.                                     13   and he said I was on 90 days probation, it
14       Q.      So at any time are you aware of any            14   changed a little, but there still wasn't --
15     other discrimination complaints besides yours            15   there was no, like, outstanding conflict or
16     that has been made against the office?                   16   anything -- there wasn't really a change in
17       A.      I'm unaware.                                   17   attitude, I don't believe. I mean, the
18       Q.      Okay. So --                                    18   attitude was poor on his part, naturally, how
19       A.      I would -- I wouldn't know.                    19   he was to everybody. So, like, there was no
20       Q.      So while you were deputy, you                  20   change. But, I mean, we would have
21     weren't looped in about any claims of                    21   conversations where once in a while we might
22     discrimination, formal or informal?                      22   laugh or crack a smile. Like, it was -- there
                                                     Page 147                                                      Page 149
 1       A.      No.                                             1   was nothing -- you know, the -- I didn't feel
 2       Q.      And, again, I'm not asking about                2   the relationship was not normal. The normal
 3     your communications with your attorney, so                3   that it had been.
 4     don't tell me about those communications.                 4      Q. Like his normal?
 5            But when did you first decide to                   5      A. His normal.
 6     make a discrimination complaint against the               6      Q. So would you say, then, from the
 7     office?                                                   7   start of your time in his office -- in the
 8       A.      The evening that he fired me.                   8   congressman's office, until the end, that your
 9       Q.      So at any time before October 16th,             9   relationship was flat, like pretty consistent?
10     2018, did you think about initiating any kind            10      A. I would say that after the maternity
11     of discrimination complaint against the office?          11   leave e-mail, those complaints about my work
12       A.      No.                                            12   ramped up; but, yes, I would say that it was --
13            But I had thought about the fact                  13   it was pretty flat. And not flat, but just,
14     that this was all really strange, and so it was          14   like, normal.
15     a red flag to me, but I had not specifically             15      Q. So in your complaints, Paragraph 36,
16     thought about filing anything.                           16   you said that Cuellar and his staff gave
17       Q.      And, just to be clear for the                  17   Plaintiff positive feedback about her
18     record, what do you mean by "this" -- "this" --          18   performance and the changes she was
19     "this whole thing is strange"?                           19   implementing in the office.
20       A.      The escalation of discourse that               20           Do you recall any kind of
21     happened after I asked him for maternity leave           21   specifically positive feedback that you were
22     and told him I was pregnant.                             22   referencing?
                                                                                                                              EX 1
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 1       A.      Yeah.                                          1   you're not in touch with any former employees
 2              The first thing he said when he                 2   from his office?
 3     brought me in for the probationary meeting was           3      A.    I think because they were told not
 4     that I was doing a great job and I had a really          4   to speak to me when we're in this court case.
 5     great attitude, but there was just a few things          5      Q.    So assuming, again, that people take
 6     he wanted me to work on, which were things that          6   their oath seriously and testify truthfully and
 7     he knew when he hired me, which was learning             7   fully, are there people from the congressman's
 8     his legislative issues. And I don't recall               8   office who you think would be good witnesses
 9     what the other one was. I'm sure we have it              9   for you in this case?
10     here. But, yeah, I mean, the -- the                     10      A.    If people are truthful, yes.
11     conversation, to me, didn't seem like oh,               11      Q.    And who do you think would be a good
12     you're doing really bad, you're on the line to          12   witness in this case for you?
13     be fired.                                               13      A.    Yikes. I really don't want to
14       Q.      What conversation are you talking             14   answer that, but I have to, right?
15     about?                                                  15      Q.    Yeah. Sorry.
16       A.      The probationary conversation.                16      A.    I think if everyone was telling the
17       Q.      Did any -- I'm sorry.                         17   truth that everyone, excluding Nina and
18              So you, in Paragraph 36 of the                 18   Madeline, would tell truth that would be
19     complaint, reference positive feedback from the         19   supportive of what I'm saying.
20     staff.                                                  20      Q.    Okay. So everyone other than Nina
21              Do you remember anything specific              21   and Madeline?
22     that the staff told you?                                22      A.    Yes.
                                                    Page 151                                                       Page 153
 1         A.   Yeah.                                   1              Q.    And so, specifically, that would be
 2             Specifically that it was more            2           Travis, right?
 3      organized, that they were glad that they had a 3               A.    Correct.
 4      figure there that could -- that could be that, 4               Q.    And --
 5      you know, boss figure that would keep           5              A.    Travis, Olya, Zack.
 6      everything together and organized. Multiple 6                  Q.    Juan?
 7      people told me that.                            7              A.    I'm not sure whether he would be
 8         Q. Are you still in touch with anyone        8           good or not. Not because of personalty or
 9      that you worked with while you were at the 9                conflicts, just because I don't know the -- I
10      congressman's office?                          10           don't know where his head of thinking is on it,
11         A. No.                                      11           so...
12         Q. Anyone who was there at the time but12                        He was gone before -- I don't know
13      has left the office?                           13           if -- I think he was gone before this happened.
14         A. No.                                      14           He was gone when it happened. I believe he was
15         Q. Is there any reason why?                 15           there when I said I was pregnant, when I told
16         A. I can't say a specific for a fact,       16           everyone I was pregnant, but then he left.
17      but I would assume it's because they're all 17                 Q.    What about David Kolcun?
18      going through this court case as well and      18              A.    I think he would be if he were
19      they're probably told not to speak to me.      19           honest, yeah.
20         Q. What about former employees?             20              Q.    He would be a good witness for you?
21         A. No. Not from his office.                 21              A.    I think so.
22         Q. Yeah, but why do you think that          22              Q.    Anyone else who stands out?
                                                                                                                              EX 1
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 1     many corrections" and five exclamation points;             1   don't affect the numbers.
 2     is that right?                                             2          Okay. During communications you had
 3       A.    Correct.                                           3   with the congressman throughout your
 4       Q.    All right. Exhibit 26, HC 212, this                4   employment, did he multiple times ask you to
 5     is an e-mail chain from August 2nd, 2008,                  5   walk the floor?
 6     between the congressman, you and other                     6     A.      Yes.
 7     staffers; is that right?                                   7     Q.      And what did he mean by "walk the
 8       A.    Correct.                                           8   floor"?
 9       Q.    The congressman is asking for a                    9     A.      Every morning and multiple times
10     clean draft and saying, "Can we all focus?;" is           10   throughout the day I would go back to the
11     that right?                                               11   legislative office and talk to everyone and see
12       A.    Correct.                                          12   where they were on their projects and what they
13       Q.    In his -- in the e-mail chain in his              13   were working on.
14     4:43 e-mail, August 2nd, he says, "Crossing is            14     Q.      So that's what the congressman meant
15     not capitalized. Who is reading this, guys.               15   by walk the floor?
16     Kristie?;" is that right?                                 16     A.      Yes.
17       A.    Correct.                                          17     Q.      And is that something he told you he
18       Q.    And did you respond that same day at              18   wanted you to do, like, throughout your
19     11:45 p.m. saying: "I'm sorry, sir, that                  19   employment?
20     particular one was not sent to me before you."            20     A.      Yes.
21       A.    Correct.                                          21     Q.      Okay. And is that something that
22       Q.    Okay. Do you know why it wasn't                   22   you did?
                                                      Page 167                                                        Page 169
 1      sent to you?                                    1               A.      Yes.
 2         A. No.                                       2               Q.      Every day?
 3         Q. Was it the ordinary practice for          3               A.      Every day multiple times.
 4      things to be sent to you before they were sent 4                Q.      Okay. So, Exhibit 28, HC 1132,
 5      to the congressman?                             5             seems to be an e-mail from you to the staff
 6         A. Yes.                                      6             asking for daily tasks to send to the boss; is
 7         Q. Was that expected of the staffers,        7             that right?
 8      to send it to you before sending it to the      8               A.      Uh-huh.
 9      congressman?                                    9               Q.      Okay. So what is the point of an
10         A. Yes.                                     10             e-mail like this?
11         Q. And you would have to approve it         11               A.      Firstly, it serves as a reminder. I
12      before it went to the congressman; is that     12             had already walked the floor. And, secondly,
13      right?                                         13             he and I had discussed and -- about walking the
14         A. Yes.                                     14             floor, and I told him that I did do that and it
15         Q. So, here, that did not happen?           15             was a good practice and I would continue to do
16         A. Correct.                                 16             that, but I also like to have their items in
17         Q. But you don't know why?                  17             writing.
18         A. I don't recall.                          18               Q.      Okay.
19         Q. All right. 27 is HC 674. This --         19               A.      Because for me, having it in writing
20      actually -- so 27 is in the record, but I      20             from their desk is a good practice, and also
21      think it's a repeat. So I don't think we need 21              then I could copy and paste and there would be
22      go through that, but we'll just leave it so we 22             no room for error of me, you know, having an
                                                                                                                                 EX 1
                                                                                                  43 (Pages 166 - 169)
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 1     are dailies. Talk to me or e-mail me if you                 1   the staff including you. The member says
 2     want me to know;" is that right?                            2   around 10:44 a.m. that he changed the titles in
 3       A.      Yes.                                              3   this press release to past tense, and it looks
 4       Q.      Okay. And you said "Yes, sir,"                    4   like you wrote to Olya "How did I miss that?;"
 5     right?                                                      5   is that right?
 6       A.      Yes.                                              6     A.      Correct. I made a mistake.
 7              And I would like to point out that I               7     Q.      Exhibit 38, HC 1847, this is an
 8     believe -- whether it gets mentioned again or               8   e-mail chain from on or about September 4th,
 9     not, I don't know, but I believe there is a                 9   2018, between the congressman and staffers,
10     comment made about these not being specific,               10   including yourself. He writes: "Where is FBI
11     but I would like to point out right here is                11   director testimony in the senate? You are
12     where he tells me don't be specific. Like,                 12   missing things, Kristie?;" is that right?
13     those things are things we talk about. We                  13     A.      Correct.
14     don't put in our dailies. If that comes up                 14     Q.      And just below that Leslie had
15     later, that's the --                                       15   written to the congressman: "Please see blow.
16       Q.      Okay.                                            16   Attached talking points for this interview.
17       A.      -- proof that I was doing what he                17   They were reviewed and approved by Stacy and
18     asked me to do by being brief.                             18   Kristie;" is that right?
19       Q.      I understand.                                    19     A.      Correct.
20              MR. BLAKE: Can we go off the                      20     Q.      And then Exhibit 39, HC 373, this is
21     record?                                                    21   an e-mail at the very top from you to the
22              (A short recess was taken.)                       22   congressman, sent on September 10th, 2018. The
                                                       Page 175                                                     Page 177
 1              (Deposition Exhibit 36 was marked                  1   congressman has expressed some dissatis- --
 2     for identification.)                                        2   dissatisfaction about an issue. You explained
 3              (Deposition Exhibit 37 was marked                  3   in your e-mail and indicated this wasn't a
 4     for identification.)                                        4   part. A little falls on everyone. We will be
 5              (Deposition Exhibit 38 was marked                  5   more diligent in the future and make sure this
 6     for identification.)                                        6   doesn't happen in the future." Is that right?
 7              (Deposition Exhibit 39 was marked                  7     A.      Correct.
 8     for identification.)                                        8            MR. BLAKE: All right. Let's go to
 9              BY MR. BLAKE:                                      9   lunch.
10       Q.      So Exhibit 36, HC 2570, this is an               10            (A short recess was taken.)
11     e-mail chain involving you, Mrs. Small, and the            11            BY MR. BLAKE:
12     member and the member staff at the time, dated             12     Q.      Welcome back, everyone.
13     on or about October 1st, 2018, to Congressman              13            For the record, I'm going to be
14     Rhodes at 6:20 p.m., "Can we redo the press                14   playing a recording that the congressman, I
15     releases on the approps? Use the format I                  15   believe, made of the 90-day probationary
16     like. Kristie, please take the lead on all of              16   meeting between Mrs. Small and the congressman,
17     them;" is that right?                                      17   and Bonnie is going to do her best to
18       A.      Correct.                                         18   transcribe it, and then I'm going to ask you
19       Q.      Exhibit 37, HC 2803, is an e-mail                19   some questions about that.
20     between -- at the top is between you and Olya.             20            (Whereupon, the audiotape was
21     This is from October 16th, 2018. Below that,               21   played.)
22     similar chain of e-mails between the member and 22
                                                                                                                               EX 1
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 1           MR. CUELLAR: I wanted to do your                      1   Yeah, they're going out. No. Break it down.
 2     90-day performance. A few things. Again,                    2   Break it down. So I need for you to help me
 3     you've been doing a -- a very good job on the               3   take some of that load off me, and that's, you
 4     90-day performance. You've been doing a good                4   know, what your job is supposed to be, number
 5     job. You've got the right attitude. I                       5   one.
 6     appreciate everything you're doing.                         6           Number two, you know, I don't know
 7           A couple of things I need for you to                  7   how you work on this, but, you know, my -- my
 8     work on to improve. One, if you remember when 8                 expectations when you came was that you were
 9     I hired you I said, hey, I need for you to take             9   training people. So I said, this is something
10     things off -- you know, help me with the                   10   that I need is for her to come in and train
11     overload that we have here and that's one thing            11   staff. I think I brought it up to you and you
12     that I think you need to improve on -- you need            12   said, well, I was training members, not staff.
13     to work on. Let me give you a couple of                    13   I said, well, that's even easier to train
14     examples. You know, there's a couple times                 14   staff. If you are training members, new
15     when I'll say, Kristie, Kristie, that means                15   members and you should be able to -- I mean, I
16     help me out, help me out.                                  16   need for you to be able to sit down and --
17           Main thing is -- is the -- for                       17   and -- and help train, you know, bring the
18     example, there's a series of them, but the main            18   staff up to a different level on that.
19     one is the press releases. There has been                  19           The third thing is just simply I
20     times where I -- it's, like, four or five                  20   don't like when somebody goes against an
21     times, like, front, back, front, back, front,              21   instruction that I left. Example, the agenda
22     back, front, back. You had to sit down with                22   or when I was -- or I was I -- I don't know
                                                       Page 179                                                      Page 181
 1     them. There is a format that -- you know,                   1   what -- I think I was in a Codel, and you asked
 2     that -- that I like is very outline, you know,              2   her -- and you asked Madeline, hey, I want
 3     explain it instead of just putting one large                3   this, and she kept saying no, you know,
 4     paragraph. You have to sit down with them --                4   describe those in one [inaudible], you know
 5     with them and -- and -- and that's one example              5   unless you ask me and you overwrote my
 6     that I need for you to work on.                             6   instructions. You just never do that, you
 7           I mean, the other thing is, you                       7   know. If I have certain instructions, then
 8     know, remember that time there was an e-mail                8   that's it. You ask me and I can say, okay,
 9     sent out by mistake where you say, hey, give me             9   let's do that, but you cannot override and put
10     a TP. You can't do that. You have to go back               10   her in a very difficult situation. Okay?
11     there. You have to sit down with them. You                 11           I believe in you. Okay? I want to
12     have to know what everybody is working on and 12                extend this for another 30 days. I want you to
13     the only way you can do that is not by asking              13   work hard the next 30 days. I know you can do
14     them to send you a TP, what they're working on, 14              it. I know you can do it. So let's talk again
15     you know, the target points, you need to sit               15   in 30 days and see where we're at at that time
16     down with them and say, okay, what are you                 16   with the evaluations and improvement at that
17     working, how is this, all that.                            17   time.
18           From the legislative team to                         18           MS. SMALL: Okay.
19     Patrick, you know, everybody, you've got to                19           MR. CUELLAR: Ask me whatever
20     know, hey, Patrick, how are the letters coming             20   questions you might want to ask me.
21     along? Are they going out? Where are they                  21           MS. SMALL: So I will.
22     going to? Not just say, are the letters there?             22           So with the staff more, I have been
                                                                                                                                EX 1
                                                                                                  46 (Pages 178 - 181)
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 1     doing that. I don't want you to think that I                1   I'm getting everyone's tasks and knowing them
 2     just sent out an e-mail. I do both. I like to               2   myself. I think for the first three months I
 3     have it in writing as well just for reference               3   was just trying to figure everything out, and
 4     and so I can make sure I have it, but I do sit              4   the administrative side now is smooth. I've
 5     down with them first. So I just don't want you              5   got -- that's easy. That's down. So now I
 6     to think that that's all I'm doing, but I will              6   want to definitely -- you know, not that I
 7     do it more.                                                 7   haven't been learning the legislation, but
 8              MR. CUELLAR: You have to walk the                  8   really dive into knowing -- yeah, actually,
 9     floor.                                                      9   with Juan gone, I mean, you're going to -- I
10              MS. SMALL: Yeah.                                  10   want you to be able to lean on me and be able
11              MR. CUELLAR: You go back there and                11   just to take that -- that void away for you.
12     go one -- go one -- one -- one booth, go                   12         MR. CUELLAR: Because Sag is good,
13     another one.                                               13   but he's only been here a year or less than a
14              MS. SMALL: Absolutely.                            14   year -- in that position a year. So, I mean,
15              MR. CUELLAR: You have to know --                  15   that's why you got to dive into it a lot more.
16     you know, when we have the meetings, you know, 16                     MS. SMALL: Yes, and I want to.
17     I hope you know what everybody is talking                  17         MR. CUELLAR: Okay.
18     about.                                                     18         MS. SMALL: I don't even --
19              The other thing is I used to have --              19         MR. CUELLAR: And most of it is just
20     and there is forms that are charts. Every week             20   spending time with them.
21     I used to have a chart of, you know, hey, guys,            21         MS. SMALL: Right.
22     whatever projects you're working on, give me               22         MR. CUELLAR: You know, like, with
                                                       Page 183                                                     Page 185
 1     your project before I leave, you know. Due on               1   David -- David, tell me what you're working on,
 2     Thursday, due on Friday, depending on what my               2   what can I help you with and --
 3     last day is, and then that would tell you and               3         MS. SMALL: I may not be standing
 4     then they -- they'll say what they're working               4   there every minute now. I'll probably be back
 5     on.                                                         5   there more, so just yell for me or Madeline
 6              I don't know if anybody there has                  6   yell for me.
 7     done it before, but there's a lot of examples.              7         MR. CUELLAR: Okay. One is the, you
 8     We can ask Juan and he can give us a copy of                8   know, take things off me.
 9     that. But it was -- you know, that way, you                 9         MS. SMALL: Yes.
10     know, when I'm flying for you and I to look at             10         MR. CUELLAR: You got to spend time
11     it, plus the district office so they know what             11   with Olya.
12     everybody is working on.                                   12         MS. SMALL: Yes.
13              MS. SMALL: Okay.                                  13         MR. CUELLAR: Olya -- Olya is good,
14              MR. CUELLAR: By that, I'm talking                 14   but, you know, you have to -- when something
15     about everybody has a whole bunch of projects              15   gets to me, you know, you just can't say, looks
16     and -- and I'll tell them this is important,               16   good, and then that's it. You have to really
17     this is -- everything is important, but I'll               17   look into it on that.
18     prioritize the -- the things on that. But you              18         MS. SMALL: So this is what I wrote
19     just have to just go and spend time with them.             19   down. I do want to revisit this with you.
20              MS. SMALL: Yes.                                   20         MR. CUELLAR: Okay.
21              So I think that that's my number one              21         MS. SMALL: Pending that everything
22     priority moving forward is to make sure that               22   moves forward and everything goes well. So I
                                                                                                                               EX 1
                                                                                                 47 (Pages 182 - 185)
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 1     do intend to stay here as long as you will have           1   those --
 2     me.                                                       2         MS. SMALL: Is this more of a review
 3              MR. CUELLAR: Okay.                               3   after 30 days, or is my job on the line?
 4              MS. SMALL: I'm very loyal. I'm                   4         MR. CUELLAR: We'll talk in 30 days.
 5     looking out for the best for you. I'm not                 5         MS. SMALL: Okay. So when I took
 6     looking to run off. So if you want me here for            6   the job we had discussed that daycare would be
 7     the long run, I'll be here. I don't want you              7   $500 a week at this point, which is $2,000 a
 8     to be afraid that I'm leaving or looking for              8   month, or as August was, $2,500 a month because
 9     something, I'm not.                                       9   there was five weeks. So eventually we will
10              So this is hard for me to talk                  10   have this, you know, second baby, and it's
11     about, but I did want to discuss the future of           11   approximately $50,000 a year in daycare.
12     my salary. So this is not because I'm being              12         MR. CUELLAR: 50, 5-0?
13     greedy or being -- you know, this is just                13         MS. SMALL: And the reason I'm
14     financially for my family. We had a general              14   getting emotional is because it's such a heavy
15     discussion about salary and daycare when I took 15            burden, and I -- I don't want to necessarily,
16     the job, so I just wanted to refresh what we             16   you know, be a stay-at-home mom, but I have to
17     went over. A raise of $10,000 is approximately           17   be able to afford the daycare in order to work.
18     $500 a pay period. I have -- if you want                 18   So that's why I'm bringing this to your
19     the --                                                   19   attention. And so a consideration of money in
20              MR. CUELLAR: Okay. Can we -- and                20   the future will depend on if I'm able to work
21     I'll be happy to discuss, but --                         21   or if I have to stay home, and that's why I'm
22              MS. SMALL: It doesn't have to be --             22   telling you about it. I'm sorry. I just get
                                                     Page 187                                                       Page 189
 1              MR. CUELLAR: -- can we -- on the                 1   emotional about my family.
 2     performance review, can we just stick to the              2         MR. CUELLAR: I mean, we'll talk
 3     performance and then, you know, in 30 days                3   about this; but, basically, you're asking for
 4     let's talk about salaries, let's talk about               4   it to go $40,000 increase?
 5     everything?                                               5         MS. SMALL: Not at this time, but
 6              MS. SMALL: Okay. And it's -- I'm                 6   over time that's what I would need to sustain
 7     not asking for right now --                               7   two children in daycare.
 8              MR. CUELLAR: Okay.                               8         MR. CUELLAR: Yeah.
 9              MS. SMALL: -- but I just wanted                  9         MS. SMALL: And I -- you know, I
10     to --                                                    10   won't have a baby in daycare maybe for another
11              MR. CUELLAR: Go ahead. But, I                   11   eight months.
12     mean, I -- I -- I --                                     12         MR. CUELLAR: Yeah.
13              MS. SMALL: Yeah.                                13         MS. SMALL: But that's just why I
14              MR. CUELLAR: I -- the way this                  14   just don't want to -- I want to bring it out
15     thing -- you know how it is --                           15   now and be professional about it.
16              MS. SMALL: Uh-huh.                              16         MR. CUELLAR: All right. I
17              MR. CUELLAR: I mean, first, you've              17   appreciate it. But we'll -- we'll talk about
18     got to get past an extra 30 days. And the                18   that. I mean, let's get past your next 30
19     reason I'm giving you 30 days is I want you to           19   days. At the end of 30 days, I mean, I want
20     succeed. I mean, you've got the attitude.                20   you to improve. I mean, I'll be very honest,
21     You've got everything. You've got the smarts,            21   at that time we'll decide whether you stay or
22     everything. I just need for you to work on               22   go, so that's why I want to leave everything
                                                                                                                               EX 1
                                                                                                48 (Pages 186 - 189)
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 1     until you stay here.                                         1   my, you know --
 2             I just need somebody -- you know, I                  2          MS. SMALL: Yes.
 3     mentioned the three reasons. Same things, I                  3          MR. CUELLAR: Help me with more
 4     just want things off my back because next year               4   things because I am doing a lot with the staff.
 5     is going to be -- well, you know, how it is.                 5          MS. SMALL: And I completely agree
 6     It's -- you've seen -- I think you came in at                6   with that and that's all on me.
 7     the end, but at the beginning it's like the                  7          MR. CUELLAR: I mean, it's -- you
 8     busiest on that, so we need to -- but we'll                  8   know, I mean, by the time they bring something
 9     talk about, you know, the 40,000. We can talk                9   to me, you have to scrub it and make sure
10     about that, but let's first get past that.                  10   because otherwise I'm editing. I'm editing
11     It's a little premature to talk about this.                 11   most of the work for you. I mean, I really
12     Let's get past the -- the next 30 days.                     12   really am, and I need -- before it gets to me,
13             MS. SMALL: Okay. I wasn't                           13   you have the sit down and say, no, change this,
14     expecting that extension, so that's why I have              14   change this.
15     this, but I'm able just to -- it stresses me                15          I mean, sometimes I think you just
16     out, so I'd rather just you have that.                      16   put, okay, thanks, but it's a little bit more
17             MR. CUELLAR: Yeah. I know.                          17   because, I mean, you know, they're -- they're
18             MS. SMALL: And also -- I mean, I                    18   smart, they're hardworking individuals, but
19     know it's -- 30 days isn't intended to put                  19   they need --
20     pressure on me.                                             20          MS. SMALL: Yes.
21             MR. CUELLAR: I'm not trying to put                  21          MR. CUELLAR: -- you know, a little
22     pressure on you. I'm trying to get you to                   22   assistance also with themselves, and that's
                                                        Page 191                                                        Page 193
 1     elevate things.                                              1   where you come in.
 2             MS. SMALL: And I can do that and                     2          MS. SMALL: I know. I will dive
 3     I'm fully willing to work on everything, but if              3   deeper into that and I promise you I never just
 4     you truly think in 30 days you might fire me, I              4   put "okay." I do read everything. And, yeah,
 5     don't want to have to worry about that for 30                5   I mean, I agree with all that, and that's all
 6     days. So maybe it would be better if you made                6   stuff I was aware of and want to work on, so...
 7     some sort of decision if you don't want me                   7          MR. CUELLAR: I mean, tell them you
 8     here.                                                        8   have to have a look before someone gives it to
 9             MR. CUELLAR: No, I want you -- if I                  9   Mr. Cuellar.
10     didn't have faith in you, I would not be giving             10          MS. SMALL: I 100 percent agree.
11     you the 30 days on that. I mean, I -- I have                11          That's all. I don't really have any
12     faith that you can elevate it and I want you to             12   questions because I agree with everything you
13     do that. I want you to do that. I mean, I                   13   said, so I'll just keep --
14     want you to do your best. We'll talk in 30                  14          MR. CUELLAR: And that says if
15     days and see where we are at that time.                     15   any -- you have any questions as we go on
16             MS. SMALL: Okay. Is there anything                  16   during this week and next week, I don't know
17     else performance review wise?                               17   what's going to happen. Like I said, the
18             MR. CUELLAR: Well, I want you to                    18   fourth week of September we're going to be on
19     ask me questions. I mean, it's just basically,              19   and off. I mean, I don't know if we're going
20     you know, the three things I -- you know,                   20   to be here. I mean, I assume we're going to be
21     the -- the -- the first two are the -- are the              21   here. October, I don't know if we're going to
22     key ones. You have to take things off my --                 22   be here, you know, so...
                                                                                                                                   EX 1
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 1            MS. SMALL: Okay. Sounds good.                      1   you about things that he wanted to see
 2            MR. CUELLAR: Let me know.                          2   improvement on that you completely agree, you
 3            MS. SMALL: I totally agree with all                3   agree a hundred percent, and words you totally
 4     of that, so that's all I have for a performance           4   agree, and words to that effect; is that right?
 5     review wise. I do have, like, 10,000 things to            5     A.    Correct.
 6     go over with you --                                       6     Q.    What is your understanding about, at
 7            MR. CUELLAR: Okay.                                 7   that time, what your employment status was
 8            MS. SMALL: -- if you'd like to go                  8   following that meeting with the congressman?
 9     over them.                                                9     A.    I truthfully didn't think that I was
10            MR. CUELLAR: Let's go over first                  10   going to get fired. I thought that he was just
11     the -- I think the media interview. There's a            11   being tough on me, and although I did say that
12     deadline before 11:30, so why don't we --                12   I agreed, I did agree, but I thought these were
13            MS. SMALL: Okay.                                  13   all reasonable things for the short time frame
14            MR. CUELLAR: -- have you sit down                 14   that I had been there to keep learning. That
15     with Olya and make sure that -- how long is the          15   wasn't anything that was majorly [sic] lacking
16     interview, et cetera, et cetera, et cetera.              16   or any huge issues that would self-correct by
17     You know, just package everything by the time            17   just being there longer.
18     it gets to me.                                           18          So I heard him say that he didn't
19            MS. SMALL: Okay.                                  19   know what would happen in 30 days, but I
20            MR. CUELLAR: Okay.                                20   just -- in my mind, I just never fathomed
21            MS. SMALL: All right. Thank you.                  21   that -- because I knew I was doing a good job.
22            MR. CUELLAR: All right.                           22   I knew that everyone in the office -- we all --
                                                     Page 195                                                       Page 197
 1            (Whereupon, the audiotape                          1   you know, we were having a good rapport, and I
 2     concluded.)                                               2   just never just really thought honestly that it
 3            MR. BLAKE: Can we go off the                       3   would -- I would be fired.
 4     record.                                                   4     Q.    So at some point, at least as of
 5            (A short recess was taken.)                        5   August 8th, 2018, I believe, the congressman
 6            BY MR. BLAKE:                                      6   indicated that you were subject to a 90-day
 7       Q.      Mrs. Small, we just played a                    7   probationary period, right?
 8     recording of your 90-day probationary meeting             8     A.    Can you repeat the question?
 9     with the congressman.                                     9     Q.    So at some point at least as of --
10            To your recollection, was that                    10   or at latest as of August 8th, 2018, the
11     recording a complete recording of the                    11   congressman indicated to you that you were on a
12     conversation that you had about your                     12   90-day probationary period, right?
13     performance with the congressman at that time?           13     A.    Correct.
14       A.      Yes.                                           14     Q.    But in this meeting that we just
15       Q.      You did say in -- backing up, in               15   heard a transcript of or just listened to you,
16     that meeting the congressman identified a                16   rather, the congressman did indicate that he
17     number of performance concerns, things that he           17   was going to extend that probationary period by
18     didn't like, and things that he wanted you to            18   30 days; is that right?
19     work on, right?                                          19     A.    Correct.
20       A.      Correct.                                       20     Q.    In this meeting of yours, this
21       Q.      And you said several times in                  21   90-day probationary meeting -- probationary
22     response to the congressman when he was telling 22            period meeting, you started to talk about a
                                                                                                                               EX 1
                                                                                                50 (Pages 194 - 197)
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 1     with any part of that. She had nothing to do               1     A.    I asked Madeline for his schedule.
 2     with press. She had nothing to do with                     2   She said she wasn't comfortable giving it to
 3     editing. She didn't sit near me. She didn't                3   me.
 4     know what work I was or was not doing.                     4     Q.    Oh, this is something different.
 5       Q.     Okay. Was she on -- I know there --               5     A.    Oh.
 6     we talked about some of these e-mails and a                6     Q.    Sorry.
 7     bunch of exhibits, how the congressman would go 7                     I believe it was Madeline or Nina at
 8     back and forth with staff about edits or were              8   the last minute went to a briefing on an
 9     talking points and press releases.                         9   upcoming Codel, and so did not go to the office
10             Do you know -- was Nina one of the                10   first. And then I think there was a discussion
11     people on those e-mails?                                  11   potentially even with the congressman about the
12       A.     I'm not sure. Was she?                           12   fact that one of them came in late?
13       Q.     Sometimes I don't know the answer.               13     A.    That could have been.
14       A.     It wouldn't have been her -- it                  14     Q.    So might that have been a situation
15     wouldn't have been her role to be, so I --                15   where Madeline or Nina went to the congressman
16       Q.     Right.                                           16   and gave her side of the story?
17       A.     I don't think so.                                17     A.    I don't know.
18       Q.     Do you have any reason -- I'm sorry.             18          And if they were going to be
19             Do you know whether Nina ever                     19   somewhere, they should have reported that to me
20     communicated with the congressman her thoughts 20              because I keep attendance.
21     about your performance?                                   21          MR. BLAKE: Can we go off the record
22       A.     I do not know.                                   22   to get more exhibits ready.
                                                      Page 223                                                   Page 225
 1       Q.     Okay. Do you think that she did                   1          (A short recess was taken.)
 2     that?                                                      2          (Deposition Exhibit 40 was marked
 3       A.     I do not know.                                    3   for identification.)
 4       Q.     Do you have any reason to think that              4          (Deposition Exhibit 41 was marked
 5     she did not do that?                                       5   for identification.)
 6       A.     To my knowledge, no one ever went to              6          (Deposition Exhibit 42 was marked
 7     the congressman about me.                                  7   for identification.)
 8       Q.     I think Jessica did, but we'll talk               8          (Deposition Exhibit 43 was marked
 9     about that.                                                9   for identification.)
10             Was -- was there -- was there an                  10          (Deposition Exhibit 44 was marked
11     incident with either Madeline or Nina where               11   for identification.)
12     they went to -- is that Codel? Is that how you            12          (Deposition Exhibit 45 was marked
13     say that?                                                 13   for identification.)
14       A.     Yes.                                             14          (Deposition Exhibit 46 was marked
15       Q.     Somebody went to --                              15   for identification.)
16       A.     Yes.                                             16          (Deposition Exhibit 47 was marked
17       Q.     Okay. Can you tell me --                         17   for identification.)
18       A.     Yes.                                             18          BY MR. BLAKE:
19       Q.     Can you, just for the record, just               19     Q.    So we just went through a number of
20     explain what that is?                                     20   statements from past and present employees in
21       A.     The congressman went on a Codel.                 21   the congressman's office, kind of summarized a
22       Q.     Right.                                           22   little bit for you some of the feedback they
                                                                                                                            EX 1
                                                                                               57 (Pages 222 - 225)
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 1     practices.                                                   1   congressman asking if you reviewed something
 2       Q.      Okay. Exhibit 44, HC 2465, is the                  2   you wrote: "I did not, sir. Let me look
 3     first page. E-mails from August 31st, 2018, at               3   over."
 4     3:59 p.m. Olya writes: "Please review the                    4            So was that a truthful statement
 5     below statement on NAFTA, sending to HC ASAP.                5   when you said you had not reviewed these
 6     Thank you."                                                  6   talking points before they went to the
 7              You wrote back "Approved" over two                  7   congressman?
 8     hours later at 6:04 p.m.; is that right?                     8     A.      I had not reviewed Zack's draft.
 9       A.      Correct.                                           9     Q.      Okay. Before it went to the
10       Q.      Is there some e-mail missing where                10   congressman?
11     you approved it sooner than two-plus hours                  11     A.      Correct.
12     later?                                                      12     Q.      Exhibit 47, HC 180, this is an
13       A.      I don't know.                                     13   e-mail from July 3rd, 2018, from Jessica
14       Q.      Do you have any reason to believe                 14   Hernandez to the congressman forwarding some
15     that there would be such an e-mail?                         15   e-mails between you and Jessica from July 3rd,
16       A.      I don't know.                                     16   2018, about some training that you-all were
17       Q.      Exhibit 45, Pages HC 347, some                    17   putting together for the district.
18     e-mails on September 7th, 2018, and September               18            Did you know that Jessica sent this
19     6th, 2018. On September 6th, 2018, 8:58 p.m.                19   e-mail to the congressman?
20     the congressman wrote: "Kristie, give me vote               20     A.      I don't know what this e-mail is.
21     recommendation."                                            21            What is this in reference to?
22              The next morning, 7:38 on September                22     Q.      Take a chance to look at it and then
                                                        Page 231                                                       Page 233
 1     7th, you wrote back "Sorry, sir. I fell asleep               1   I'll ask you about it.
 2     early. Let me look at this." Is that right?                  2     A.      (Witness complies.)
 3        A.      Yes.                                              3            Okay. What is your question?
 4        Q.      So you did not give him a vote                    4     Q.      Did you know that Jessica sent this
 5     recommendation the same day that he asked for                5   e-mail to the congressman?
 6     one, that's correct?                                         6     A.      I'm not sure.
 7        A.      At 9:00 p.m. at night outside of                  7     Q.      So does it suggest, this e-mail that
 8     business hours I did not, and I was pregnant                 8   she sends to congressman, that she was alerting
 9     and I fell asleep.                                           9   him to some communications that she -- you and
10        Q.      Exhibit 46, HC 405, these are some               10   she were having?
11     e-mails from October 11th, 2018, which I will               11     A.      I don't know.
12     note is close to your last day in the office.               12     Q.      So the e-mail here is -- the chain
13     The congressman wrote at 3:49 p.m. "Thank you 13                 seems to talk a little bit about your request
14     is wrong. Did I add this in what year?                      14   or direction for Jessica to devise part of the
15     Kristie, did you review?"                                   15   training that you were working on to present to
16               You responded to the congressman and              16   the district office. She pushed back a little
17     said: "I did not, sir. Let me look over."                   17   bit. You responded, and she sent this to the
18               So does that indicate that you did                18   congressman; is that right?
19     not review these draft talking points before                19     A.      Okay.
20     they went to the congressman?                               20     Q.      Does that --
21        A.      Repeat the question, please.                     21     A.      I don't know. Is that what you're
22        Q.      You wrote in -- response to the                  22   telling me? She did --
                                                                                                                                  EX 1
                                                                                                    59 (Pages 230 - 233)
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                                 Kristie Small                   March 13, 2020
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 1             Let me see. I just don't really                     1   old ones as well to make sure everything was
 2     remember a lot about this, to be honest. I                  2   there.
 3     don't think there was any huge communication                3     Q.     Okay. So, on October 16th, you had
 4     about it.                                                   4   employee personnel files at your home?
 5             BY MR. BLAKE:                                       5     A.     I did.
 6        Q.    Okay. Exhibit 52, HC 2255 through                  6     Q.     Okay. And did you have permission
 7     2270. This is an e-mail from July 3rd, 2018,                7   to have them at home?
 8     from you to yourself and to Jeff with a                     8     A.     It was a task that I -- was under my
 9     PowerPoint staff -- training PowerPoint; is                 9   responsibilities, was to make sure those files
10     that right?                                                10   were complete, and I was expected to work from
11        A.    Correct.                                          11   home and be available at all hours. So I would
12        Q.    Okay. So you did forward this to                  12   never see a reason why I wouldn't be able to
13     Jeff; is that right?                                       13   take those home and work on them. I did work
14        A.    Correct.                                          14   at home all the time.
15        Q.    Did you ask for the congressman's                 15     Q.     But did you specifically have
16     position -- permission, rather, to send this to            16   permission to bring employee personnel files at
17     Jeff?                                                      17   home?
18        A.    No.                                               18     A.     Yes, because it was under my job
19        Q.    And did you think that there was an               19   jurisdiction. So if anything that was under my
20     issue with sending something like this to your             20   job jurisdiction I would be allowed to take
21     husband?                                                   21   home to work on.
22        A.    I didn't think there was an issue                 22     Q.     I mean -- but I'm asking, like, not
                                                       Page 259                                                         Page 261
 1     sending it to another staffer, and I don't even             1   in a general sense. Like, very specifically,
 2     recall if I did it so I could just work on it               2   did anyone ever say you can bring personnel
 3     from home. I think that that's what I did, but              3   files, complete personnel files at home,
 4     there's nothing sensitive in here.                          4   specifically those files as opposed to files
 5        Q.    But, just to be clear, you just --                 5   related to your work?
 6     you sent it, you didn't get permission to send              6     A.       Specifically, I was never told that
 7     it?                                                         7   for anything.
 8        A.    Correct.                                           8     Q.       So just --
 9        Q.    Okay. On your last day of work with                9     A.       I was expected to take my work home.
10     the office, I think it was October 16, 2018,               10     Q.       So just to be clear for the record,
11     seems that you removed some personnel files                11   you did not have expressed permission from the
12     from the office; is that correct?                          12   congressman to bring employee personnel files
13        A.    No.                                               13   home?
14        Q.    Okay. Why would somebody think that               14     A.       I did not need it and no, I did not
15     you removed personal files?                                15   have it.
16        A.    Because I did, but it wasn't that                 16     Q.       Your complaint is Exhibit -- I
17     day. I had them home and I was going through               17   forget which one.
18     all of them to make sure they were complete.               18            THE REPORTER: 17.
19     That's part of my job, to make sure all their              19            BY MR. BLAKE:
20     documents were signed. They had, you know,                 20     Q.       So, Mrs. Small, Exhibit 17 is your
21     multiple documents that -- for on boarding and             21   First Amended Complaint, correct?
22     things like that, and I was going through the              22     A.       Correct.
                                                                                                                                   EX 1
                                                                                                    66 (Pages 258 - 261)
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                                 Kristie Small                   March 13, 2020
                                                      Page 262                                                       Page 264
 1       Q.    And did you provide the information                1   your desire to use FMLA leave for maternity
 2     that is in that complaint?                                 2   leave?
 3       A.    Yes.                                               3     A.      Okay. So I stated the e-mail. I
 4       Q.    Did you review the complaint?                      4   stated the uptick in corrections. Those are my
 5       A.    Yes.                                               5   main reasons.
 6       Q.    Did you understand the complaint?                  6     Q.      So both of those are in your
 7       A.    Yes.                                               7   complaint. So there is nothing that is not in
 8       Q.    Did you approve the complaint?                     8   your complaint that makes you think that you
 9       A.    Yes.                                               9   were discriminated against based on pregnancy
10       Q.    Is there anything missing from that               10   for FMLA?
11     complaint related to your claims?                         11     A.      Rephrase without the double
12       A.    No.                                               12   negative. I don't want to answer it
13       Q.    Is there anything else that you                   13   improperly.
14     think should be included in your amended                  14     Q.      I went to law school to confuse
15     complaint -- your First Amended Complaint                 15   people.
16     that's not there?                                         16     A.      I'm very detailed oriented.
17       A.    No.                                               17     Q.      What do you think -- in the -- in
18       Q.    Okay. For the claims in your                      18   the affirmative as opposed to the negative,
19     complaint, basically all relate to your                   19   every basis that you have for believing that
20     termination from the congressman's office, what 20             the congressman discriminated against you based
21     are your specific reasons for thinking that the           21   on pregnancy or the FMLA is in your complaint;
22     congressman has terminated your employment                22   is that correct?
                                                      Page 263                                                       Page 265
 1     because of your pregnancy and/or desire to use             1     A.      Correct.
 2     FMLA leave to take parental leave after Kendall            2     Q.      Okay. So your complaint does not
 3     was born?                                                  3   have anything in it about the congressman
 4       A.    His response to my e-mail requesting               4   saying anything disparaging about pregnancy or
 5     leave in writing was the 90-day probationary               5   women or children or medical leave or FMLA
 6     period sentence, which I had never been aware              6   leave?
 7     of or never been told of or it was not in the              7     A.      Correct.
 8     employee handbook. It was never mentioned to               8     Q.      Okay. So -- and that is because he
 9     me, so that is the first reason.                           9   did not say those things, right?
10            The second reason is that after he                 10     A.      Correct.
11     mentioned in the e-mail the 90-day probationary 11               Q.      Okay. So --
12     period, the complaints from him became much               12            MR. BLAKE: Can we go off the
13     more frequent, and it was evident to me that              13   record?
14     things were just being said to be documented              14            (A short recess was taken.)
15     and -- because some of the stuff wasn't even              15            (Deposition Exhibit 53 was marked
16     true. It was just -- it was excelled after I              16   for identification.)
17     made my -- after I told him I was pregnant.               17            BY MR. BLAKE:
18       Q.    Anything else?                                    18     Q.      Exhibit 53 are Plaintiff's answers
19       A.    Repeat the question.                              19   to request for admission.
20       Q.    What are your specific reasons for                20            Mrs. Small, do you recognize Exhibit
21     believing that the congressman terminated your            21   53?
22     employment because of your pregnancy and/or               22     A.      I do.
                                                                                                                                EX 1
                                                                                                 67 (Pages 262 - 265)
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